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                                                                          5                         UNITED STATES DISTRICT COURT
                                                                          6                       NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              ARMADA BULK CARRIERS, a Foreign    )         No. C-05-3406 SC
                                                                          8   Corporation,                       )
                                                                                                                 )
                                                                          9                  Plaintiff,          )
                                                                                                                 )
                                                                         10        v.                            )         FINDINGS OF FACT AND
                                                                                                                 )         CONCLUSIONS OF LAW
                               For the Northern District of California




                                                                         11   CONOCOPHILLIPS COMPANY, INC., a    )
United States District Court




                                                                              Delaware Corporation, FOSS MARITIME)
                                                                         12   COMPANY, INC., a Washington        )
                                                                              Corporation, and FOSS MARITIME     )
                                                                         13   BARGE 185 P3, in rem,              )
                                                                                                                 )
                                                                         14                  Defendants.         )
                                                                                                                 )
                                                                         15
                                                                              I.   INTRODUCTION
                                                                         16
                                                                                   On August 22, 2005, Plaintiff Armada Bulk Carriers
                                                                         17
                                                                         18   ("Plaintiff" or "Armada") filed a Complaint against Defendants

                                                                         19   ConocoPhillips Company, Inc. ("Defendant" or "CP"), Foss Maritime

                                                                         20   Company, Inc., and the Foss Maritime Barge 185 P3 (the "Barge").
                                                                         21   See Docket No. 1.     On November 13, 2006, Plaintiff filed its
                                                                         22   Second Amended Complaint, which contained causes of action for
                                                                         23
                                                                              breach of contract, breach of warranty, and negligence against CP
                                                                         24
                                                                              for delivering allegedly off-specification fuel oil (the "Fuel
                                                                         25
                                                                              Oil").   See Docket No. 36.     On December 21, 2006, CP answered the
                                                                         26
                                                                              Second Amended Complaint and asserted its counterclaim against
                                                                         27
                                                                              Armada for breach of contract to recover the sale price of the
                                                                         28
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                                                                          1   Fuel Oil.   See Docket No. 46.      Just prior to trial, on May 3,
                                                                          2   2007, the Court approved the parties' stipulated dismissal of Foss
                                                                          3   Maritime and the Foss Maritime Barge, the boat that transported
                                                                          4
                                                                              the Fuel Oil from CP to Armada.       See Docket No. 121.         As a result,
                                                                          5
                                                                              the only parties remaining at trial were Armada and CP.
                                                                          6
                                                                                    On May 7-11 and 21-22, 2007, a bench trial was held before
                                                                          7
                                                                              this Court.   Having considered the evidence presented by Armada
                                                                          8
                                                                          9   and CP, the Court hereby FINDS in favor of CP and against Armada

                                                                         10   in the amount of $189,906.73 plus prejudgment interest.             CP should

                                                                              submit a motion and proposed order detailing calculations for
                               For the Northern District of California




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                                                                         12   interest, fees, and expenses, as provided under the parties'
                                                                         13   contract.
                                                                         14
                                                                         15
                                                                              II.   PRELIMINARY FINDINGS
                                                                         16
                                                                              1.    Defendant CP is engaged in various petroleum-related
                                                                         17
                                                                                    businesses worldwide including refining, transporting,
                                                                         18
                                                                         19         storing, blending, and sales.       In this case, CP was acting as

                                                                         20         the seller of marine fuel oil from a terminal it owns and

                                                                         21         operates in Richmond, California (the "Richmond Terminal").
                                                                         22   2.    Plaintiff Armada entered into a time charter of the M/V Spar
                                                                         23         II (the "Vessel"), a 623-foot bulk carrier owned by Spar
                                                                         24
                                                                                    Shipholding AS.    At the time, the Vessel was under a long-
                                                                         25
                                                                                    term time charter to Bulkhandling Handysize AS, which in turn
                                                                         26
                                                                                    sub-chartered the Vessel to Armada.
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                                                                          1   3.   As the sub-charterer, Armada owed a contractual duty to re-
                                                                          2        supply the Vessel with fuel oil at the conclusion of its
                                                                          3        charter.    It was during the re-supply operations that the
                                                                          4
                                                                                   present dispute arose.
                                                                          5
                                                                              4.   On June 14, 2005, via a broker from Trans-Tec/World Fuel
                                                                          6
                                                                                   Services, Armada and CP entered into a contract for CP to
                                                                          7
                                                                                   sell Armada between 550 and 600 metric tons of oil, which was
                                                                          8
                                                                          9        to meet IFO 180 / RME 25 specifications excluding the level

                                                                         10        of vanadium.     The IFO 180 / RME 25 specifications are

                                                                                   equivalent to the ISO 8217 specifications referenced in the
                               For the Northern District of California




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                                                                         12        parties' contract.
                                                                         13   5.   The relevant requirements for IFO 180 oil are: combined
                                                                         14
                                                                                   aluminum and silicon content cannot exceed 80 parts per
                                                                         15
                                                                                   million ("ppm"), water cannot exceed 1.0%, and total ash
                                                                         16
                                                                                   content cannot exceed 0.10%.
                                                                         17
                                                                              6.   The broker confirmed the understanding of the parties for the
                                                                         18
                                                                                   quantity and specifications of the Fuel Oil.          Pl. Ex. 2.
                                                                         19
                                                                         20   7.   On June 14, 2005, the parties entered into a Spot Sale

                                                                         21        Agreement for CP to deliver 550 metric tons of IFO 180 fuel

                                                                         22        oil to the Vessel in the San Francisco Bay.          Def. Ex. 501.
                                                                         23   8.   The Spot Sale Agreement expressly incorporated the Products
                                                                         24        Purchase/Sale Agreements General Terms and Conditions dated
                                                                         25
                                                                                   April 1, 2004 ("General Terms and Conditions" or "GT&C").
                                                                         26
                                                                                   Def. Ex. 501, 2; Pl. Ex. 131.
                                                                         27
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                                                                          1   9.    As applicable, the GT&C incorporates the Marine Fuels
                                                                          2         Purchase/Sale Addendum ("Marine Fuels Addendum") and the
                                                                          3         Marine Provisions.     Def. Ex. 131, 13; Pl. Ex. 132-33.
                                                                          4
                                                                              10.   Per an email between Owen Stillings at CP, the company's
                                                                          5
                                                                                    commercial representative and scheduler responsible for the
                                                                          6
                                                                                    San Francisco Bay Area, and the Trans-Tec broker, CP agreed
                                                                          7
                                                                                    to deliver both heavy oil and cutter, which when mixed
                                                                          8
                                                                          9         together would bring the viscosity of the Fuel Oil down to

                                                                         10         approximately 180 centistokes.       Pl. Ex. 1.    Evidence at trial

                                                                                    showed that the oil in shore tank 3927 already met the
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                                                                         12         viscosity requirements for IFO 180 oil.
                                                                         13   11.   The heavy oil was stored in CP's Richmond Terminal shore tank
                                                                         14
                                                                                    3927; the cutter was stored in shore tank 3944.
                                                                         15
                                                                              12.   To deliver oil of the quantity and viscosity requested by
                                                                         16
                                                                                    Armada, CP advised the broker that it would mix barrels of
                                                                         17
                                                                                    heavy oil with barrels of cutter stock in a 95%/5% ratio.
                                                                         18
                                                                              13.   On June 20, 2005, CP began pumping the Fuel Oil from its
                                                                         19
                                                                         20         Richmond Terminal to the Barge.

                                                                         21   14.   CP first loaded the heavy oil from shore tank 3927 and then

                                                                         22         loaded the cutter stock from shore tank 3944.
                                                                         23   15.   CP informed the broker that because CP had no shore-side
                                                                         24         blending capabilities, the Fuel Oil would have to blend
                                                                         25
                                                                                    aboard the barge during loading and transport to the Vessel;
                                                                         26
                                                                                    the broker agreed on Armada's behalf.        Pl. Ex 1.      Armada
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                                                                          1         never objected to this blending method prior to delivery.
                                                                          2   16.   On June 20, 2005, Mr. Hussain Nassir of Columbia Inspection
                                                                          3         tested CP's 3927 and 3944 shore tanks.        The samples were
                                                                          4
                                                                                    combined in the laboratory in a 95%/5% composite ratio to
                                                                          5
                                                                                    reflect the composition of the delivery.
                                                                          6
                                                                              17.   On June 29, 2005, the shore tank composite sample tested 0.3%
                                                                          7
                                                                                    for water and 26 ppm for silicon and aluminum, meaning it met
                                                                          8
                                                                          9         contract specifications.      Pl. Ex. 117.

                                                                         10   18.   At night on June 20, 2005, Mr. Nassir boarded the Barge and

                                                                                    prepared additional samples of the Fuel Oil.         Mr. Nassir took
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                                                                         12         one sample from each of the four Barge compartments to create
                                                                         13         a "Barge composite sample."         He also took two additional
                                                                         14
                                                                                    Barge samples, of which one was delivered to the Chief
                                                                         15
                                                                                    Engineer of the Vessel and one retained by the Barge
                                                                         16
                                                                                    ("retained Barge sample").      Trial Transcript ("TT") 185, 194.
                                                                         17
                                                                              19.   Testing on the Barge composite sample performed by Columbia
                                                                         18
                                                                                    Inspection indicated that the Fuel Oil met contract
                                                                         19
                                                                         20         specifications.    The results showed 0.3% water and 17 ppm

                                                                         21         combined aluminum and silicon.        Pl. Ex. 118.

                                                                         22   20.   On July 7, 2005, BSI Inspectorate tested the retained Barge
                                                                         23         sample collected by Mr. Nassir.        Consistent with the other
                                                                         24         shore tank and Barge samples, it met contract specifications.
                                                                         25
                                                                                    The results showed 0.4% water, 0.052% ash, and 25 ppm
                                                                         26
                                                                                    combined aluminum and silicon.        Pl. Ex. 92.
                                                                         27
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                                                                          1   21.    After the Fuel Oil was loaded onto the Barge, the Barge
                                                                          2          crossed the Bay to dock alongside the Vessel and complete the
                                                                          3          delivery.
                                                                          4
                                                                              22.    While the Fuel Oil was being pumped onto the Vessel, the
                                                                          5
                                                                                     Vessel's Chief Engineer, Mr. Jesia, arranged the collection
                                                                          6
                                                                                     of a "drip sample" from the manifold of the ship.          The drip
                                                                          7
                                                                                     sample was collected in a 15-Liter bucket, which captured a
                                                                          8
                                                                          9          continuous drip of oil throughout the entire loading process.

                                                                         10   23.    Mr. Jesia separated the drip sample into several containers,

                                                                                     one of which was sent to Fobas / Caleb Brett ("Fobas") for
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                                                                         12          testing.
                                                                         13   24.    The Fobas test results on the drip sample showed levels of
                                                                         14
                                                                                     contamination far outside the contract specifications.         The
                                                                         15
                                                                                     results showed 4.8% water, 0.192% ash, and 304 ppm combined
                                                                         16
                                                                                     aluminum and silicon.    Pl. Ex. 85, 2.
                                                                         17
                                                                              25.    On June 27, 2005, Armada informed CP of the Fobas test
                                                                         18
                                                                                     results and refused to pay for the Fuel Oil, which remained
                                                                         19
                                                                         20          in the Vessel's 1C tank.

                                                                         21
                                                                         22   III.   RELEVANT CONTRACT PROVISIONS
                                                                         23          The parties agree on two documents which apply to this
                                                                         24   transaction: the ConocoPhillips General Terms and Conditions
                                                                         25
                                                                              ("GT&C") and the Marine Fuels Addendum.
                                                                         26
                                                                              //
                                                                         27
                                                                         28                                         6
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                                                                          1           The relevant portions of the GT&C, Pl. Ex. 131, provide:
                                                                          2           2.2 FOB Delivery: Delivery shall be deemed complete and
                                                                                      title and risk of loss shall pass from Seller to Buyer . . .
                                                                          3           in the case of vessel deliveries as Product passes the
                                                                          4           vessel's permanent manifold flange at the load port.

                                                                          5           4.3 Interest: Any amount payable for any cargo of Product
                                                                                      or otherwise payable by Buyer to Seller hereunder shall, if
                                                                          6           not paid when due, bear interest from the due date until the
                                                                                      date payment is received by the Seller at an annual rate
                                                                          7           (based on a 360-day year) equal to the rate of two (2)
                                                                                      percentage points above the prime rate of interest . . . .
                                                                          8
                                                                          9
                                                                                      The relevant portions of the Marine Fuels Addendum,1 Pl. Ex.
                                                                         10
                                                                              133, provide:
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                                                                                      3. Grades
                                                                         12           A. The marine fuels supplied hereunder shall be Seller's
                                                                                      commercial grades offered to customers generally at the time
                                                                         13           and delivery port from time to time. Seller's fuel grades
                                                                         14           will conform to ISO 8217 specifications. Other minimum and
                                                                                      maximum quality specifications shall be as set forth in the
                                                                         15           Sales Confirmation.

                                                                         16           6. Sampling and Quality
                                                                                      A. Unless a mutually acceptable independent inspector is
                                                                         17           appointed to take samples . . . Seller shall take not less
                                                                                      than two (2) identical samples in accordance with its normal
                                                                         18           sampling procedures at the delivery port.
                                                                         19
                                                                                      Buyer has a right to have a representative witness such
                                                                         20           sampling.

                                                                         21           B. Buyer waives any objections to the sampling procedures
                                                                                      actually employed unless Buyer had a representative witness
                                                                         22           sampling and at the time of delivery gave Seller a written
                                                                                      protest about the procedures.
                                                                         23
                                                                                      The samples shall be sealed and labeled by either the barge
                                                                         24
                                                                                      company representative, Seller's representative or
                                                                         25           independent inspector, as the case may be. The Chief

                                                                         26
                                                                                  1
                                                                                    The original text of the Marine Fuels Addendum was all
                                                                         27    upper case and has been modified for ease of reading.
                                                                         28                                         7
                                                                               Case 3:05-cv-03406-SC Document 152 Filed 06/22/07 Page 8 of 18



                                                                          1        Engineer will acknowledge receipt of the sample delivered to
                                                                                   the vessel by signing and dating either a receipt or the
                                                                          2        sample label.
                                                                          3        C. One sample will be given          to the Vessel at the time of
                                                                          4        delivery. Not less than one          (1) sample shall be retained by
                                                                                   Seller for at least 60 days,         or longer if Buyer has made a
                                                                          5        quality claim against Seller         during that period.

                                                                          6        7. Claims
                                                                                   B. Any claim by Buyer for quality deficiency or
                                                                          7        nonconformity must be received by Seller in writing and
                                                                                   accompanied by all then available supporting documents within
                                                                          8
                                                                                   thirty (30) days of delivery. It is a pre-condition of
                                                                          9        Seller's consideration of a quality claim that at the time
                                                                                   Buyer gives Seller notice, that Buyer has retained its sealed
                                                                         10        retain [sic] sample provided by Seller. Buyer's notice must
                                                                                   contain full details including: the quantities and locations
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                                                                                   of all bunkers on board the Vessel; the rate and quantity of
                                                                                   consumption since delivery; the location immediately prior to
                                                                         12        consumption of bunkers consumed; for each of the three (3)
                                                                                   preceding deliveries to the vessel, the quantity, quality and
                                                                         13        specification of product supplied, the place and date of
                                                                         14        supply and the name of the supplier; and the information
                                                                                   concerning the whereabouts of Buyer's sealed retain [sic]
                                                                         15        sample.

                                                                         16        D. In the event of a quality claim, the parties agree to
                                                                                   have the sample retained by Seller analyzed by a mutually
                                                                         17        agreed, qualified and independent laboratory. The costs of
                                                                                   the analysis shall be borne equally by Seller and Buyer.
                                                                         18        Buyer may cause the testing of the sample provided to the
                                                                                   vessel at its sole cost and expense; however, dispositive
                                                                         19
                                                                                   determination of quality of product delivered shall be based
                                                                         20        upon test results of an independent laboratory in the port of
                                                                                   bunkering of the sealed and marked samples retained by Seller
                                                                         21        from the delivery.

                                                                         22
                                                                                   The parties disagree as to whether the GT&C incorporates the
                                                                         23
                                                                              Marine Provisions, Pl. Ex. 132, and in particular, the "fraud and
                                                                         24
                                                                         25   manifest error standard" in Marine Provisions ¶ X.1.              Armada

                                                                         26   asserts that the Marine Provisions apply because GT&C ¶ 18.1

                                                                         27   states: "If delivery is to be made by water-borne transportation,
                                                                         28                                         8
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                                                                          1   the attached ConocoPhillips Company's Marine Provisions shall
                                                                          2   apply."   Pl. Ex. 131.    CP asserts that the Marine Provisions only
                                                                          3   apply to situations in which the fuel is cargo, not when the fuel
                                                                          4
                                                                              is used by a vessel for propulsion.        However, the inclusion or
                                                                          5
                                                                              exclusion of the Marine Provisions does not change the parameters
                                                                          6
                                                                              of this fuel quality dispute because language indicating that the
                                                                          7
                                                                              Seller's sample will not be binding in cases of "fraud or manifest
                                                                          8
                                                                          9   error" appears in both the Marine Provisions, Pl. Ex. 132 at ¶

                                                                         10   X.1, and the GT&C, Pl. Ex. 131 at ¶ 3.2.

                                                                                    Also relevant to this quality dispute is language in the
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                                                                         12   Marine Fuels Addendum stating that samples must be taken "in
                                                                         13   accordance with [Seller's] normal sampling procedures at the
                                                                         14
                                                                              delivery port."    Pl. Ex. 133 at ¶ 6.A.      According to the Marine
                                                                         15
                                                                              Fuels Addendum, the Buyer had a right to have a representative
                                                                         16
                                                                              witness the sampling and "Buyer waives any objections to the
                                                                         17
                                                                              sampling procedures actually employed unless Buyer had a
                                                                         18
                                                                              representative witness sampling and at the time of delivery gave
                                                                         19
                                                                         20   Seller a written protest about the procedures."          Id. at ¶ 6.B.

                                                                         21
                                                                         22   IV.   APPLICABLE LAW
                                                                         23         This case falls within the Court's admiralty jurisdiction
                                                                         24   under 28 U.S.C. § 1333(1) because it involves a maritime
                                                                         25
                                                                              transaction for the sale of potentially contaminated fuel
                                                                         26
                                                                              delivered to a vessel and a counterclaim to recover the unpaid
                                                                         27
                                                                         28                                         9
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                                                                          1   contract price for the fuel.      See Exxon Corp. v. Cent. Gulf Lines,
                                                                          2   Inc., 500 U.S. 603, 612 (1991) ("[L]ower courts should look to the
                                                                          3   subject matter of the agency contract and determine whether the
                                                                          4
                                                                              services performed under the contract are maritime in nature.").
                                                                          5
                                                                              "In maritime commercial transactions, the Uniform Commercial Code
                                                                          6
                                                                              is taken as indicative of the federal common law of admiralty."
                                                                          7
                                                                              Interpool Ltd. v. Char Yigh Marine (Panama) S.A.,
                                                                          8
                                                                          9   890 F.2d 1453, 1459 (9th Cir. 1989), (citing G. Gilmore and C.

                                                                         10   Black, The Law of Admiralty, 718-22).

                                                                                   In this case, Plaintiff asks the Court to find that it
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                                                                         12   properly rejected the Fuel Oil within a reasonable time after
                                                                         13   delivery or tender.    In the alternative, if the Court finds that
                                                                         14
                                                                              Plaintiff accepted the Fuel Oil, Plaintiff asks the Court to find
                                                                         15
                                                                              that it properly revoked acceptance of the Fuel Oil.          According to
                                                                         16
                                                                              Plaintiff, if it satisfied either of these two situations, the
                                                                         17
                                                                              burden of proof would fall on Defendant CP to show that the Fuel
                                                                         18
                                                                              Oil met contract specifications.       The Uniform Commercial Code, §
                                                                         19
                                                                         20   2-602 allows a buyer to reject goods "within a reasonable time

                                                                         21   after their delivery or tender."       If the goods have been properly

                                                                         22   rejected, the Seller retains the burden of proof to establish that
                                                                         23   the goods were delivered in conformance with the contract
                                                                         24   specifications.    See Miron v. Yonkers Raceway, Inc., 400 F.2d 112,
                                                                         25
                                                                              119 (2d Cir. 1968).
                                                                         26
                                                                                   Here, despite the fact that the Seller's samples were deemed
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                                                                          1   binding under the contract, Armada notified CP on June 27, 2005
                                                                          2   that the results of the Vessel's manifold drip sample showed that
                                                                          3   the Fuel Oil did not meet IFO 180 specifications and that Armada
                                                                          4
                                                                              wished to reject the delivery.      CP refused to remove and replace
                                                                          5
                                                                              the Fuel Oil.   Relying on the pre-delivery samples collected by
                                                                          6
                                                                              Columbia Inspection showing that the Fuel Oil met contract
                                                                          7
                                                                              specifications, CP asserted that those samples were a binding
                                                                          8
                                                                          9   indication of product quality.

                                                                         10        The Court will place the burden of proof on CP to establish

                                                                              that the goods met contract specifications because Armada
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                                                                         12   attempted to reject the Fuel Oil upon learning the results of the
                                                                         13   manifold drip sample.
                                                                         14
                                                                         15
                                                                              V.   FINAL FINDINGS OF FACT AND CONCLUSIONS OF LAW
                                                                         16
                                                                              1.   Mr. Stillings of CP testified that CP's "normal sampling
                                                                         17
                                                                                   procedures" are "to rely on a certified company to conduct
                                                                         18
                                                                                   sampling pursuant to normal industry practices."             TT 497:10-
                                                                         19
                                                                         20        13.   This testimony describes what CP was obligated to do

                                                                         21        under Marine Fuels Addendum ¶ 6.A, a part of the contract.

                                                                         22        a.    The Court finds that CP satisfied the first part of its
                                                                         23              obligation by hiring Columbia Inspection, a certified
                                                                         24              company, to sample the Fuel Oil.
                                                                         25
                                                                                   b.    The second part of CP's obligation involves Columbia
                                                                         26
                                                                                         Inspection conducting the sampling pursuant to normal
                                                                         27
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                                                                          1              industry practices.
                                                                          2              i.   The Court finds that under the contract, the
                                                                          3                   Seller's sample is binding unless there is evidence
                                                                          4
                                                                                              of "fraud or manifest error" in the sampling or
                                                                          5
                                                                                              testing.
                                                                          6
                                                                                   c.    Armada's expert, Mr. Max Grossey, testified that normal
                                                                          7
                                                                                         sampling procedures in the industry dictate following
                                                                          8
                                                                          9              the API standards for sampling and ASTM standards for

                                                                         10              laboratory testing.     TT 675:1-20.

                                                                                   d.    Having reviewed the written standards (including Pl. Ex.
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                                                                         12              110) and heard testimony from both parties, the Court
                                                                         13              finds that the written standards are more illustrative
                                                                         14
                                                                                         than proscriptive for this industry.        Even though
                                                                         15
                                                                                         Armada's expert stated that Columbia Inspection did not
                                                                         16
                                                                                         properly conduct the sampling, the Court finds that none
                                                                         17
                                                                                         of Plaintiff's individual criticisms amount to manifest
                                                                         18
                                                                                         error.   In addition, viewing the sampling in totality,
                                                                         19
                                                                         20              CP has shown that there was no manifest error in the

                                                                         21              collection of its Barge or shore tank samples.

                                                                         22        e.    Armada asserts that the Barge samples taken by Mr.
                                                                         23              Nassir are the relevant samples under the contract, so
                                                                         24              the Court will discuss those samples.
                                                                         25
                                                                                         i.   In reference to the number of samples taken from
                                                                         26
                                                                                              the Barge, because the compartments were seven feet
                                                                         27
                                                                         28                                       12
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                                                                          1                    high, Mr. Grossey testified that the industry
                                                                          2                    standards only require the inspector to draw one
                                                                          3                    sample from each Barge compartment.        TT 682: 2-11.
                                                                          4
                                                                                               (1)   Mr. Nassir from Columbia Inspection satisfied
                                                                          5
                                                                                                     this standard by drawing one sample from each
                                                                          6
                                                                                                     Barge compartment.     TT 185.
                                                                          7
                                                                                               (2)   Though he may have taken the sample from near
                                                                          8
                                                                          9                          the bottom of the tanks as opposed to the

                                                                         10                          middle, this does not rise to the level of

                                                                                                     fraud or manifest error.      Moreover, according
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                                                                         12                          to industry guidelines, sampling near the
                                                                         13                          bottom would be more likely to detect
                                                                         14
                                                                                                     impurities in the Fuel Oil.
                                                                         15
                                                                                                     (a)   Thus, CP met the contract and industry
                                                                         16
                                                                                                           standards with respect to the number of
                                                                         17
                                                                                                           samples taken aboard the Barge.
                                                                         18
                                                                                         ii.   In reference to the location of samples taken from
                                                                         19
                                                                         20                    the Barge, Mr. Nassir testified that he took a

                                                                         21                    sample from each of the four Barge compartments to

                                                                         22                    make a composite sample.
                                                                         23                    (1)   Thus, CP met the contract and industry
                                                                         24                          standards with respect to the location of
                                                                         25
                                                                                                     samples taken aboard the Barge.
                                                                         26
                                                                                         iii. In reference to the equipment used, CP also met the
                                                                         27
                                                                         28                                       13
                                                                              Case 3:05-cv-03406-SC Document 152 Filed 06/22/07 Page 14 of 18



                                                                          1                    contract and industry standards.       Mr. Grossey
                                                                          2                    testified that a zone sampler, the equipment used
                                                                          3                    by Mr. Nassir on the Barge, was acceptable
                                                                          4
                                                                                               equipment for taking spot samples.        TT 680-82.
                                                                          5
                                                                                               Industry standards and practice allow the use of
                                                                          6
                                                                                               spot samples for oil quality determination.
                                                                          7
                                                                                         iv.   The Court also finds that the seals used by Mr.
                                                                          8
                                                                          9                    Nassir were sufficient under the contract and no

                                                                         10                    contamination resulted from his use of a seal not

                                                                                               to Plaintiff's liking.
                               For the Northern District of California




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                                                                         12   2.   CP has established by a preponderance of the evidence that
                                                                         13        both CP and the independent inspection firm, Columbia
                                                                         14
                                                                                   Inspection, followed their normal procedures in obtaining and
                                                                         15
                                                                                   testing shore tank and barge compartment samples in
                                                                         16
                                                                                   connection with the sale and delivery of the Fuel Oil to
                                                                         17
                                                                                   Armada on June 20-21, 2005.       When analyzed by independent
                                                                         18
                                                                                   laboratories, all of the samples taken by Columbia Inspection
                                                                         19
                                                                         20        met contract and ISO 8217 specifications, including those for

                                                                         21        water, combined aluminum and silicon, and ash.

                                                                         22        a.    Armada is thus bound by these samples and laboratory
                                                                         23              analyses.
                                                                         24   3.   In the days between forming the contract and loading the Fuel
                                                                         25
                                                                                   Oil, the Court finds that Armada had ample opportunity to
                                                                         26
                                                                                   sample the Fuel Oil but failed to take advantage of that
                                                                         27
                                                                         28                                       14
                                                                              Case 3:05-cv-03406-SC Document 152 Filed 06/22/07 Page 15 of 18



                                                                          1        opportunity.    Armada certainly knew when the delivery would
                                                                          2        be made via the Barge and should have sent a representative
                                                                          3        to observe Mr. Nassir's work.       Under the contract, Armada had
                                                                          4
                                                                                   a right to have a representative witness the sampling and
                                                                          5
                                                                                   "Buyer waives any objections to the sampling procedures
                                                                          6
                                                                                   actually employed unless buyer had a representative witness
                                                                          7
                                                                                   sampling and at the time of delivery gave seller a written
                                                                          8
                                                                          9        protest about the procedures."       Marine Fuels Addendum, Pl.

                                                                         10        Ex. 133 at ¶ 6.B.

                                                                                   a.    The Court finds that Armada suffered no prejudice in
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                                                                         12              failing to attend and witness the sampling activities or
                                                                         13              in failing to take its own samples because, under all
                                                                         14
                                                                                         the facts and circumstances presented, Columbia
                                                                         15
                                                                                         Inspection followed normal, commercially reasonable, and
                                                                         16
                                                                                         industry-accepted practices in obtaining, maintaining,
                                                                         17
                                                                                         and testing fuel oil samples taken in connection with
                                                                         18
                                                                                         this sale.
                                                                         19
                                                                         20        b.    Armada also failed to ensure the safe-keeping of the

                                                                         21              sealed Barge sample provided to the Vessel's Chief

                                                                         22              Engineer upon delivery, which was later removed from the
                                                                         23              Vessel and discarded by Thomas Hansen, who was employed
                                                                         24              by the SGS North America inspection firm.         TT 1018.
                                                                         25
                                                                                         Armada was unable to produce this sample for testing
                                                                         26
                                                                                         when it was requested by CP.       Armada's failure to
                                                                         27
                                                                         28                                       15
                                                                              Case 3:05-cv-03406-SC Document 152 Filed 06/22/07 Page 16 of 18



                                                                          1              produce this sample weakens its fuel quality claim.
                                                                          2        c.    Armada also failed to fully account for the three
                                                                          3              preceding fuel deliveries to the Vessel, including
                                                                          4
                                                                                         contaminated oil acquired in Vietnam.
                                                                          5
                                                                                   d.    In addition, the Court finds Armada's contamination
                                                                          6
                                                                                         theory insufficient to refute CP's evidence that CP met
                                                                          7
                                                                                         the terms of the contract.      Armada failed to offer
                                                                          8
                                                                          9              admissible, non-speculative evidence sufficient to show

                                                                         10              that water and contaminants, rather than cutter stock,

                                                                                         were delivered out of shore tank 3944.        While the
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                                                                         12              relatively consistent viscosity readings of the various
                                                                         13              samples lend some credence to Armada's theory, the
                                                                         14
                                                                                         viscosity readings are not enough to overcome Armada's
                                                                         15
                                                                                         contractual and evidentiary burdens.
                                                                         16
                                                                                         i.   CP presented credible evidence to refute Armada's
                                                                         17
                                                                                              viscosity theory including: testimony from Mr.
                                                                         18
                                                                                              Gloeckner, the supervisor of the Richmond Terminal,
                                                                         19
                                                                         20                   that the bottom of tank 3944 is "virtually flat",

                                                                         21                   TT 1113:20, that the drainage pipe used to deliver

                                                                         22                   oil is six inches in diameter with a lower edge
                                                                         23                   eight to ten inches from the bottom of the tank, TT
                                                                         24                   1114:18-21, and that no water resided at the bottom
                                                                         25
                                                                                              of tank 3944, a tank designed to prevent water
                                                                         26
                                                                                              accumulation, TT 1105.
                                                                         27
                                                                         28                                       16
                                                                              Case 3:05-cv-03406-SC Document 152 Filed 06/22/07 Page 17 of 18



                                                                          1   4.   Armada asks the Court to rely on the results of the manifold
                                                                          2        drip sample collected on June 21, 2005, as the Fuel Oil was
                                                                          3        being loaded onto the Vessel.
                                                                          4
                                                                                   a.    The Court finds that the results of the manifold drip
                                                                          5
                                                                                         sample are not binding in this dispute because CP's
                                                                          6
                                                                                         samples are binding under the contract.
                                                                          7
                                                                                   b.    Armada's argument that the manifold drip sample complied
                                                                          8
                                                                          9              with MARPOL Annex VI (the International Convention for

                                                                         10              the Prevention of Pollution from Ships) is not relevant

                                                                                         to this fuel quality dispute.       See 33 U.S.C. § 1901.
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                                                                         12              i.   MARPOL Annex VI seeks to prevent air pollution from
                                                                         13                   ships.    The MARPOL guidelines state: "[T]his sample
                                                                         14
                                                                                              is to be used solely for determination of
                                                                         15
                                                                                              compliance with Annex VI of MARPOL 73/78."        Thus,
                                                                         16
                                                                                              according to MARPOL and the parties' contract in
                                                                         17
                                                                                              this case, Armada's sample is not binding.
                                                                         18
                                                                              5.   In addition, Armada points to other tests taken after the
                                                                         19
                                                                         20        Fuel Oil had been loaded onto the Vessel as further

                                                                         21        indications that the Fuel Oil did not meet contract

                                                                         22        specifications at the time of delivery.
                                                                         23        a.    The Court finds that these additional samples are
                                                                         24              neither binding nor relevant.       All of the additional
                                                                         25
                                                                                         samples were taken once the Fuel Oil had already mixed
                                                                         26
                                                                                         with 23 cubic meters of other material in the tank.         In
                                                                         27
                                                                         28                                       17
                                                                              Case 3:05-cv-03406-SC Document 152 Filed 06/22/07 Page 18 of 18



                                                                          1              addition, the Vessel was already carrying a bunker of
                                                                          2              contaminated oil from Vietnam.
                                                                          3         b.   Armada failed to rule out the strong likelihood that the
                                                                          4
                                                                                         Fuel Oil had mixed with other materials after loading.
                                                                          5
                                                                          6
                                                                              VI.   CONCLUSION
                                                                          7
                                                                                    For the reasons discussed herein, the Court FINDS in favor of
                                                                          8
                                                                          9   Defendant CP and against Plaintiff Armada in the amount of

                                                                         10   $189,906.73 plus prejudgment interest.        CP should submit a motion
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                                                                              and proposed order detailing calculations for interest, fees, and
                                                                         12   expenses, as provided under the parties' contract.
                                                                         13
                                                                         14         IT IS SO ORDERED.

                                                                         15
                                                                                    Dated: June 22, 2007.
                                                                         16
                                                                         17                                     UNITED STATES DISTRICT JUDGE
                                                                         18
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                                                                         28                                       18
